Case: 2:15-cv-02438-ALM-CMV Doc #: 126 Filed: 04/26/18 Page: 1 of 1 PAGEID #: 3120




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


THOMAS CRAWFORD                                    :
                                                   :          Case No. 2:15-CV-2438
               Plaintiff,                          :
                                                   :          JUDGE ALGENON L. MARBLEY
       v.                                          :
                                                   :          Magistrate Judge Terrence Kemp
COLUMBUS STATE COMMUNITY                           :
COLLEGE, et al.,                                   :
          Defendants.                              :

                                              ORDER

       Based on the representation to the Court by Counsel that the parties to this lawsuit have

resolved their dispute, the parties agree that the terms of their settlement agreement need not be

placed upon the record at this time, but a Dismissal Order dismissing this case with prejudice

shall be filed not later than forty-five (45) days from the date of this Order.

       This matter is now terminated by settlement and shall be considered, pursuant to Fed. R.

Civ. P. 41, dismissed without prejudice as to all claims, until the parties file the above-referenced

Dismissal Order dismissing this matter with prejudice, unless the case is reopened for good cause

shown upon proper motion of one or more parties to this action. The Court will retain continuing

jurisdiction over the settlement agreement.

       The Court hereby directs the U.S. District Court Clerk to serve upon all parties notice of

this judgment and its date of Order upon the journal.

       IT IS SO ORDERED.


                                                         s/Algenon L. Marbley
                                                       JUDGE ALGENON L. MARBLEY
                                                       UNITED STATES DISTRICT COURT
DATED: April 26, 2018
